                                           Case 3:22-cv-07444-JSW Document 6 Filed 11/23/22 Page 1 of 2




                                   1

                                   2

                                   3

                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        STEPHEN T PIERCE,
                                   7                                                       Case No. 3:22-cv-07444-JSW
                                                        Plaintiff,
                                   8
                                                  v.                                       ORDER SETTING INITIAL CASE
                                   9                                                       MANAGEMENT CONFERENCE
                                        SAMUEL BANKMAN-FRIED, et al.,                      AND ADR DEADLINES
                                  10
                                                        Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13             IT IS HEREBY ORDERED that this action is assigned to the Honorable Jeffrey S. White.

                                  14   When serving the complaint or notice of removal, the plaintiff or removing defendant must serve

                                  15   on all other parties a copy of this order and all other documents specified in Civil Local Rule 4-2.

                                  16   Counsel must comply with the case schedule listed below unless the Court otherwise orders.

                                  17             IT IS FURTHER ORDERED that this action is assigned to the Alternative Dispute

                                  18   Resolution (ADR) Multi-Option Program governed by ADR Local Rule 3. Counsel and clients

                                  19   shall familiarize themselves with that rule and with the material entitled “Dispute Resolution

                                  20   Procedures in the Northern District of California” on the Court’s ADR webpage at

                                  21   www.cand.uscourts.gov/adr. A limited number of printed copies are available from the Clerk’s

                                  22   Office.

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28                       CASE SCHEDULE – ADR MULTI-OPTION PROGRAM
                                            Case 3:22-cv-07444-JSW Document 6 Filed 11/23/22 Page 2 of 2




                                   1    Date                       Event                                                           Governing Rule

                                   2    11/23/2022                 Complaint Filed

                                   3    2/3/2023                   *Last day to:                                                   F.R. Civ. P. 26(f) &
                                                                   • meet and confer re: initial disclosures, early                ADR L.R.3-5
                                   4                               settlement, ADR process selection, and discovery
                                                                   plan
                                   5

                                   6                               • file ADR Certification signed by Parties and                  Civil L.R . 16-8(b) &
                                                                   Counsel (available at www.cand.uscourts.gov)                    ADR L.R. 3-5(b)
                                   7

                                   8    2/17/2023                  **Last day to file Rule 26(f) Report, complete                  FRCivP 26(a) (1)
                                                                   initial disclosures or state objection in Rule 26(f)            Civil L.R . 16-9
                                   9                               Report and file Case Management Statement per
                                                                   Standing Order re Contents of Joint Case
                                  10                               Management Statement (available at
                                                                   www.cand.uscourts.gov)
                                  11

                                  12    2/24/2023                  INITIAL CASE MANAGEMENT                                         Civil L.R . 16-10
Northern District of California




                                                                   CONFERENCE (CMC) at 11:00 AM in:
 United States District Court




                                  13                               Courtroom 5, 2nd Floor
                                  14                               Ronald Dellums Federal Building
                                                                   1301 Clay Street
                                  15                               Oakland, CA 94612

                                  16
                                       * If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 21
                                  17   days in advance of the Initial Case Management Conference.

                                  18   ** If the Initial Case Management Conference is continued, unless otherwise ordered this deadline is continued to 7
                                       days in advance of the Initial Case Management Conference.
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                                 2
